36 5HY
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                                  8QLWHG6WDWHV3UHWULDO6HUYLFHV
                                                           IRU
                                         &HQWUDO'LVWULFWRI&DOLIRUQLD


86$YV 7UHYRQ)UDQNOLQ                             'RFNHW1R &5


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SUHVHQWLQJDQRIILFLDOUHSRUWXSRQWKHFRQGXFWRIGHIHQGDQW        7UHYRQ)UDQNOLQ             ZKRZDVSODFHG
XQGHUSUHWULDOUHOHDVHVXSHUYLVLRQE\WKH+RQRUDEOH             6WHYH.LP               VLWWLQJLQWKHFRXUWDW
  /RV$QJHOHV&$ RQWKH WK GD\RI                -XQH        XQGHUWKH*HQHUDO&RQGLWLRQVRI5HOHDVH
OLVWHGRQWKH'LVWULFW&RXUW
V5HOHDVH2UGHUDQG%RQG)RUP&5DQGWKHIROORZLQJDGGLWLRQDOFRQGLWLRQV
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5HSRUWRQDUHJXODUEDVLVWR3UHWULDO6HUYLFHVDQGFRPSO\ZLWKWKHLUUXOHVDQGUHJXODWLRQVUHSRUWLQSHUVRQWR
3UHWULDO6HUYLFHVRQWKHILUVWZRUNLQJGD\IROORZLQJ\RXUUHOHDVHIURPFXVWRG\UHVLGHDWDORFDWLRQDSSURYHGE\
3UHWULDO6HUYLFHVDQGGRQRWPRYHRUEHDEVHQWIURPWKLVUHVLGHQFHIRUPRUHWKDQKRXUVZLWKRXWSULRU
DSSURYDORI3UHWULDO6HUYLFHVWUDYHOUHVWULFWHGWRWKH(DVWHUQ'LVWULFWRI&DOLIRUQLDDQGWKH&HQWUDO'LVWULFWRI
&DOLIRUQLDIRUFRXUWSXUSRVHVRQO\XQOHVVRWKHUDSSURYHGE\3UHWULDO6HUYLFHVUHSRUWDQ\FRQWDFWZLWKODZ
HQIRUFHPHQWWR3UHWULDO6HUYLFHVZLWKLQKRXUVVHHNDQGRUPDLQWDLQHPSOR\PHQWDQGSURYLGHSURRIWKHUHRI
WR3UHWULDO6HUYLFHVXSRQUHTXHVWQRWSRVVHVVKDYHLQ\RXUUHVLGHQFHRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQ
GHVWUXFWLYHGHYLFHRURWKHUGDQJHURXVZHDSRQ$GGLWLRQDOO\\RXPXVWSURYLGHZULWWHQSURRIRIGLYHVWPHQWRI
DOOILUHDUPVDPPXQLWLRQFXUUHQWO\XQGHU\RXUFRQWUROVXEPLWWRGUXJDQGRUDOFRKROWHVWLQJDVDSSURYHGE\
3UHWULDO6HUYLFHV<RXPXVWSD\DOORUSDUWRIWKHFRVWVRIWHVWLQJVHUYLFHVEDVHGRQ\RXUDELOLW\DVGHWHUPLQHG
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VXEVWDQFHZLWKRXWDSUHVFULSWLRQE\DOLFHQVHGPHGLFDOSUDFWLWLRQHUDQG\RXPXVWQRWLI\3UHWULDO6HUYLFHV
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XVHGDQGSDUWLFLSDWHLQDSURJUDPRIPHGLFDORUSV\FKLDWULFWUHDWPHQWLQFOXGLQJWUHDWPHQWIRUGUXJRUDOFRKRO
GHSHQGDQF\RUPHQWDOKHDOWKFRQGLWLRQDVDSSURYHGE\3UHWULDO6HUYLFHV<RXPXVWEHDOORUSDUWRIWKHFRVWV
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7KHGHIHQGDQWLVGULQNLQJDOFRKROLQH[FHVV
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                                    8QLWHG6WDWHV3UHWULDO6HUYLFHV
                                                            IRU
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86$YV 7UHYRQ)UDQNOLQ                              'RFNHW1R &5

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                25'(52)&2857                                    LVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
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DQGPDGHDSDUWRIWKHUHFRUGVLQWKHDERYHFDVH
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